     Case 2:08-cr-00376-WBS-AC Document 638 Filed 06/09/16 Page 1 of 1


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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,                No.   2:08-CR-0376-06 WBS
13                 Plaintiff,

14        v.                                  ORDER
15   LEONARD WILLIAMS,

16                 Defendant.

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19              Pursuant to the Order of the United States Court of

20   Appeals for the Ninth Circuit (Docket No. 637), defendant is

21   hereby ordered released from custody upon the conditions

22   previously imposed by the Magistrate Judge on June 21, 2010

23   (Docket Nos. 75 and 82).

24              IT IS SO ORDERED.

25   Dated:    June 9, 2016

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